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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Art Akiane LLC
                                      Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 23, 2019:


        MINUTE entry before the Honorable Edmond E. Chang: Motion hearing held on
Plaintiff's motion for temporary restraining order [11]. As discussed during the hearing,
the disputes presented in the TRO motion have substantially narrowed. There is no current
dispute that (a) the defense may sell the inventory purchased at wholesale; (b) most of the
licensed−based sales are finished with the possible exception of two products; and (c)
Defendant Corneliuson may sell the private−collection works. At most, an expedited
preliminary injunction would be warranted after conferral with the defense on the two
licensed−based products and on the new issue raised by Plaintiff as to particular social
media displays. With regard to the litigation track, defense counsel accepted service in
court on behalf of Defendants. Defendants' answer or response due 06/24/2019.
Mandatory Initial Discovery Pilot Project disclosures due 07/24/2019. The status hearing
of 06/12/2019 is reset for 06/25/2019 at 10:00 a.m. Now that these sets of counsel are
advising the parties, the Court strongly encourages the parties to avoid the risks, attorneys'
fees, and delay of litigation −− not to mention the unfortunate acrimony after a long
relationship. The parties may jointly notify the courtroom deputy if they want a settlement
referral to the magistrate judge. Emailed notice(slb, )




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